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FOR PROFESSIONAL SERVICES THROUGH NOVEMBER 30, 2022
11/10/22 Prepare for and meet with NOPD regarding City Ordinances (1.0); prepare for and
participate in public meeting at East New Orleans Regional Library (2.5); meet with
Mr. Douglass and Dr. Burns regarding same (0.4); meet with IPM regarding same (0.3);
meet with OIG regarding NOPD/Mayor investigation (0.3); review notes and other
materials en route to DC (0.8); meet with IPM regarding City Ordinance (0.4); attend
to Morrell ordinance regarding IPM (0.4); review data from Ms. Trepagnier (0.2).
Jonathan S. Aronie 6.30 hrs. $ 516.59/hr.

11/11/22 Meet with community stakeholder (0.4); attend to Vappie investigation (0.4); respond
to City Council request to investigate Vappie matter (0.4); correspond with Mr. Helou regarding
Use of Force data (0.2); correspond with Judge Morgan regarding City
Council investigation request (0.3).
Jonathan S. Aronie 1.70 hrs. $ 516.59/hr.
11/13/22 Review follow-up news report regarding Officer Vappie.
David L. Douglass .30 hrs. $ 516.60/hr.
11/13/22 Draft cover letter to preliminary PIB findings (0.5); correspond with Judge Morgan
regarding Vappie (0.2).
Jonathan S. Aronie .70 hrs. $ 516.59/hr.
11/14/22 Call with Judge Morgan and Mr. Aronie regarding Vappie investigation issues.
David L. Douglass 1.40 hrs. $ 516.59/hr.
11/14/22 Prepare for and meet with Judge Morgan regarding Vappie investigation (1.4); meet
with NOPD personnel regarding same (0.4); review policies and rules regarding
potential violations (0.7); prepare for meeting with City Council regarding IPM (0.3);
coordinate meeting with PIB and IPM (0.3).
Jonathan S. Aronie 3.10 hrs. $ 516.59/hr.
11/15/22 Prepare for and participate in video conference with Councilmember Morrell (0.5);
prepare for and meet with PIB and IPM regarding Vappie investigation (1.2); attend to use of
force event (0.2).
Jonathan S. Aronie 1.90 hrs. $ 516.59/hr.
11/16/22 Work on IPM ordinance (0.5); review NOPD news coverage (0.4); attend to Vappie
Investigation (0.4).
Jonathan S. Aronie 1.30 hrs. $ 516.59/hr.
11/17/22 Prepare for and meet with DOJ and Monitoring Team (1.0); prepare technical
assistance memo to PIB regarding Vappie investigation (0.8); correspond with Deputy
Chief regarding new PIB investigations (0.2); meet with City official regarding ongoing
news stories regarding NOPD executive protection detail (0.4); review local news
regarding NOPD matters (0.3); review and revise draft IPM ordinance (0.5); confer



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with Mr. Douglass regarding same (0.2)
Jonathan S. Aronie 3.40 hrs. $ 516.59/hr.


FOR PROFESSIONAL SERVICES THROUGH DECEMBER 31, 2022
12/01/22 Telephone conferences with key individuals relating to Vappie investigation.
Jonathan S. Aronie .40 hrs. $ 516.60/hr.
12/02/22 Confer with IPM and team members regarding Vappie investigation monitoring plan.
David L. Douglass .60 hrs. $ 516.58/hr.
12/02/22 Review information regarding IG investigation concerning Vappie issue and
communicate with Judge Morgan regarding same.
David L. Douglass .60 hrs. $ 516.58/hr.
12/02/22 Participate in call with Mr. Douglass, Ms. Perry, and Independent Monitor Team
regarding overseeing the ongoing Vappie investigation (0.7); continue drafting Annual
Report (1.4).
Nikole R. Snyder 2.10 hrs. $ 425.43/hr.
12/05/22 Attend Investigation Coordination Zoom meeting concerning PIB's Vappie
investigation; review investigation documents; develop investigation tracking
document.
Scott Huntsberry 1.40 hrs. $ 200.00/hr.
12/05/22 Prepare for and participate in PIB briefing regarding Vappie investigation (1.0);
prepare for and meet with Mr. Douglass and Judge Morgan regarding various compliance
matters (0.8); review and comment on Vappie investigations plan (0.6); review PIB
draft interview outline (0.3); meet with Agent Huntsberry and Ms. Perry regarding PIB
investigation (0.4).
Jonathan S. Aronie 3.10 hrs. $ 516.59/hr.
12/07/22 Meet with Captain Allen of NOPD PIB at his office to discuss Vappie investigation
status and next steps.
Scott Huntsberry 1.10 hrs. $ 200.00/hr.
12/09/22 Follow-up regarding Vappie investigation.
David L. Douglass .30 hrs. $ 516.60/hr.
12/09/22 Review materials regarding PIB and prepare task and timeline list for Vappie
investigation; send same to Agent Huntsberry for review.
Anne B. Perry 3.30 hrs. $ 516.59/hr.
12/12/22 Attend investigation status update meeting with Mr. Aronie and Ms. Perry concerning
NOPD PIB Vappie investigation.
Scott Huntsberry 1.00 hrs. $ 200.00/hr.




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12/12/22 Participate in weekly status call regarding Vappie investigation; update draft work
plan/timeline; telephone conference with Ms. Viverette regarding PIB.
Anne B. Perry 1.70 hrs. $ 516.59/hr.
12/12/22 Prepare for and participate in weekly call with PIB regarding Vappie (1.0); meet with
Ms. Perry regarding same (0.3); meet with Mr. Douglass and Judge Morgan regarding
court hearing and related compliance matters (0.7); meet with IG regarding NOPD
investigation matters (0.3); attend to Claus matter (0.2); correspond with Dr. Burns
regarding “in the green” carveouts and promises (0.2); correspond with Mr. Douglass
regarding co-responder opportunities (0.2).
Jonathan S. Aronie 2.90 hrs. $ 516.59/hr.
12/12/22 Attend meeting with NOPD on Vappie investigation update.
Nikole R. Snyder 1.00 hrs. $ 425.43/hr.
12/13/22 Attend Vappie Investigation Status meeting with Captain Allen.
Scott Huntsberry .40 hrs. $ 200.00/hr.
12/15/22 Correspond with NOPD PIB regarding Vappie investigation.
Jonathan S. Aronie .30 hrs. $ 516.60/hr.
12/16/22 Prepare for and attend monitoring team retreat with Judge Morgan (2.0); meet with
various stakeholders regarding police leadership (0.4); review letter from OIG
regarding NOPD (0.2); correspond with PIB regarding Vappie investigation (0.2).
Jonathan S. Aronie 2.80 hrs. $ 516.59/hr.
12/19/22 Attend Vappie Investigation strategy and coordination meeting with NOPD PIB
personnel, representative of IPM, Mr. Aronie, and Ms. Perry.
Scott Huntsberry 1.00 hrs. $ 200.00/hr.
12/19/22 Prepare for and meet with Judge Morgan regarding personnel, leadership, consultants,
and related monitoring tasks (0.5); prepare for and meet with PIB regarding Vappie
investigation (0.8); meet with IG regarding same (0.4); draft letter to Deputy Chief
Sanchez regarding same (0.5); conduct research regarding obstruction of internal affairs
investigation (0.4).
Jonathan S. Aronie 2.60 hrs. $ 516.59/hr.
12/20/22 Attend NOPD Vappie investigation update meeting with Sgt. Jones.
Scott Huntsberry .40 hrs. $ 200.00/hr.
12/21/22 Receive update from Ms. Perry regarding Vappie investigation.
David L. Douglass .20 hrs. $ 516.60/hr.
12/21/22 Review NOPD updates; confer with Mr. Douglas regarding status of Mr. Vappie
investigation.
Anne B. Perry .80 hrs. $ 516.59/hr.
12/22/22 Review NOPD updates; confer with Agent Huntsberry regarding status of Mr. Vappie
investigation.
Anne B. Perry .20 hrs. $ 516.60/hr.

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12/22/22 Attend to outgoing Chief Ferguson’s decision to reinstate Officer Vappie to the
Mayor’s executive security detail in the middle of multiple investigations into Vappie’s
behavior (3.0); prepare for and meet with Judge Morgan et al. regarding APR and
related efforts to reduce officer burden to ensure NOPD compliance with Paragraph 12
(1.0); prepare for and attend Monitor Retreat with Judge Morgan (1.5); meet with
community stakeholder regarding NOPD leadership change (0.5).
Jonathan S. Aronie 6.00 hrs. $ 516.59/hr.
12/23/22 Conduct telephone call with Captain Allen concerning status of PIB's Vappie
investigation.
Scott Huntsberry .40 hrs. $ 200.00/hr.
12/23/22 Review NOPD updates; confer with Agent Huntsberry regarding status of Mr. Vappie
investigation.
Anne B. Perry .70 hrs. $ 516.59/hr.
12/27/22 Receive telephone call from Captain Allen concerning PIB's Vappie Investigation
progress.
Scott Huntsberry .30 hrs. $ 200.00/hr.
12/28/22 Attend update/status meeting with PIB personnel, IPM personnel, Mr. Aronie, and Ms.
Perry concerning Vappie investigation.
Scott Huntsberry .80 hrs. $ 200.00/hr.
12/28/22 Review interview questions and email; correspondence regarding same; prepare for and
participate in weekly update call regarding Vappie investigation.
Anne B. Perry 1.60 hrs. $ 516.59/hr.
12/28/22 Prepare for and meet with PIB regarding Vappie (1.0); meet with Agent Huntsberry
regarding same (0.3); review PIB interview of executive protection officer (1.4);
correspond with PIB regarding ongoing investigation (0.2); meet with community
stakeholder regarding NOPD leadership (0.4); meet with NOPD deputy chief regarding
ongoing compliance matters (0.4); meet with NOPD captain regarding ongoing
compliance matters (0.4); review materials regarding recent officer accidental discharge
(0.2); prepare additional interview questions for PIB investigators (0.4); correspond
with Officer Allen regarding same (0.2); meet with Deputy Chief Sanchez regarding
ongoing Vappie investigation (0.3).
Jonathan S. Aronie 5.30 hrs. $ 516.59/hr.
12/29/22 Attend Zoom update and planning meeting with Captain Allen regarding PIB's Vappie
investigation.
Scott Huntsberry .70 hrs. $ 200.00/hr.
12/29/22 Prepare for and meet with Monitoring Team regarding 2023 monitoring plans (0.7);
draft email to Chief Sanchez regarding additional recommendations for Vappie
investigation (0.4); meet with key City leaders regarding national search for new
Superintendent (0.4); meet with NOPD leaders regarding changes in NOPD leadership
structure (0.5); review Vappie witness interviews (0.4).
Jonathan S. Aronie 2.40 hrs. $ 516.59/hr.

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12/30/22 Meet with City Council members regarding questions about national superintendent
search (0.3); correspond with Chief Sanchez regarding Vappie investigation (0.3);
prepare for and meet with Judge Morgan regarding new NOPD leadership, Fausto’s
role at NOPD, and Vappie investigation (0.4); review and suggest revisions to
correspondence with Chief Gernon (0.3).
Jonathan S. Aronie 1.30 hrs. $ 516.59/hr.
12/31/22 Review PIB interviews regarding Vappie.
Jonathan S. Aronie 1.00 hrs. $ 516.59/hr.


FOR PROFESSIONAL SERVICES THROUGH JANUARY 31, 2023
01/03/23 Vappie investigation - Email correspondence and review materials.
Anne B. Perry .20 hrs. $ 516.60/hr.
01/03/23 Review witness interview recordings regarding Vappie investigation (1.0); review
materials regarding recruitment and retention (0.4); correspond with Judge Morgan
regarding same (0.1); meet with Chief Sanchez regarding cancellation of weekly
meeting (0.2); meet with member of Ethics Board regarding various NOPD compliance
matters (0.7).
Jonathan S. Aronie 2.40 hrs. $ 516.59/hr.
01/04/23 Prepare for and meet with Chief Woodfork and new leadership team (1.0); meet with
City Council member regarding CD status (0.4); prepare for and meet with Chief
Sanchez regarding reassignment of Vappie investigators (0.3); meet with IPM
regarding same (0.4); meet with IG regarding same (0.4); meet with Mr. Douglass
regarding meeting with Chief Woodfork (0.4); correspond with Chief Sanchez
regarding Vappie (0.2); correspond with Chief Woodfork regarding Vappie (0.1);
review Monlyn and Johnson witness interviews (2.0).
Jonathan S. Aronie 5.20 hrs. $ 516.59/hr.
01/05/23 Conduct telephone call with Commander Allen concerning Vappie investigation status.
Scott Huntsberry .30 hrs. $ 215.00/hr.
01/05/23 Compose email to Mr. Aronie concerning upcoming subject interview of Officer
Vappie by PIB.
Scott Huntsberry .20 hrs. $ 215.00/hr.
01/05/23 Prepare for and meet with NAACP president regarding NOPD leadership (0.5); attend
to Vappie investigation oversight (0.3); prepare questions for PIB regarding Vappie
investigation (0.4).
Jonathan S. Aronie 1.20 hrs. $ 516.59/hr.
01/06/23 Participate in conference call with investigative team regarding status and next steps in
Vappie investigation.
Anne B. Perry 1.10 hrs. $ 516.59/hr.

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01/06/23 Prepare for and participate in video call with PIB regarding status of Vappie
investigation (0.9); prepare for and meet with DOJ (0.5).
Jonathan S. Aronie 1.40 hrs. $ 516.59/hr.
01/08/23 Develop list of interview questions for Jeffrey Vappie.
Scott Huntsberry .90 hrs. $ 215.00/hr.
01/09/23 Attend meeting with Capt Allen and Lt. Jones at PIB Office concerning Vappie
Investigation; observe Vappie interview at PIB office.
Scott Huntsberry 4.20 hrs. $ 215.00/hr.
01/09/23 Email correspondence regarding status and next steps in Vappie investigation (0.3);
confer with Mr. Aronie regarding updates and status of Vappie investigation (0.2).
Anne B. Perry .50 hrs. $ 516.60/hr.
01/09/23 Prepare for and participate in meeting with Judge Morgan and NOPD interim
superintendent (1.4); prepare for and participate in meeting with monitoring team in
advance of meetings with parties (2.0); meet with Mr. Huntsberry regarding Vappie
interview (0.3); telephone conference with Chief Gernon regarding PSAB OPSE audits
(0.4); meet with Mr. Douglass regarding same (0.2); correspond with judge Morgan
regarding same (0.4); correspond with Judge Morgan regarding Vappie investigation
(0.2); meet with member of Business Council and NOLA Coalition regarding
community feedback regarding NOPD chief search (0.7); draft email to PIB chief
regarding detailing reassigned investigators back to PIB (0.4).
Jonathan S. Aronie 6.00 hrs. $ 516.59/hr.
01/10/23 Prepare for and participate in (via Zoom) meeting with Monitoring Team and DOJ
(2.5); prepare for and participate in weekly PIB briefing regarding Vappie investigation
(0.7); meet with Mr. Huntsberry regarding same (0.3); prepare for and participate in
meeting with Monitoring Team, DOJ, and NOPD (2.5).
Jonathan S. Aronie 6.00 hrs. $ 516.59/hr.
01/12/23 Attend Vappie Investigation meeting with Judge Morgan.
Scott Huntsberry .90 hrs. $ 215.00/hr.
01/12/23 Prepare for and participate in all-hands status conference (2.0); prepare for and
participate in video conference regarding Vappie investigation and related matters
(0.7); meet with Judge Morgan (0.5); meet with Mr. Huntsberry regarding Vappie
investigation (0.3); correspond with DOJ regarding task forces (0.2); correspond with
DOJ regarding Vappie investigation (0.2).
Jonathan S. Aronie 3.70 hrs. $ 516.59/hr.
01/13/23 Correspond regarding vehicle pursuit issues (0.3); attend to monitoring of Vappie
investigation (1.0).
Jonathan S. Aronie 1.30 hrs. $ 516.59/hr.
01/15/23 Review Vappie interview.
Jonathan S. Aronie 3.00 hrs. $ 516.59/hr.

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01/16/23 Attend to Vappie investigation monitoring.
Jonathan S. Aronie .40 hrs. $ 516.60/hr.
01/17/23 Prepare for and participate in weekly Vappie investigation call.
Jonathan S. Aronie 1.00 hrs. $ 516.59/hr.
01/18/23 Email Ms. Perry requesting Vappie Investigation update.
Scott Huntsberry .10 hrs. $ 215.00/hr.
01/18/23 Prepare for and meet with Judge Morgan regarding follow-up to onsite meetings and
path forward (1.0); review coverage of City Council meeting regarding potential
implications on Consent Decree (0.4); correspond with Chief Woodfork regarding
outside agencies policing during Mardi Gras (0.2); review media statements from Chief
Woodfork regarding application of the Consent Decree to outside agencies (0.2);
correspond with Judge Morgan and Mr. Douglass regarding same (0.2); review
amended Vappie divorce filing regarding implications for PIB investigation (0.3);
correspond with Chief Sanchez regarding same (0.1).
Jonathan S. Aronie 2.40 hrs. $ 516.59/hr.
01/19/23 Correspond with Chief Sanchez regarding movement of Vappie follow-up interview
(0.2); meet with DOJ regarding Vappie investigation (0.4); review materials regarding
recent uses of force (0.7).
Jonathan S. Aronie 1.30 hrs. $ 516.59/hr.
01/23/23 Attend Vappie investigation Status and Planning meeting with Mr. Aronie and Ms.
Perry with members of NOPD PIB unit.
Scott Huntsberry 1.50 hrs. $ 215.00/hr.
01/23/23 Participate in meeting with PIB investigators (1.4); draft questions for follow-up
interview with Mr. Vappie (0.5).
Anne B. Perry 1.90 hrs. $ 516.59/hr.
01/23/23 Prepare for and participate in video conference with NOPD and IPM regarding Vappie
investigation (1.0); prepare for and meet with Judge Morgan and Mr. Douglass
regarding annual report (1.4).
Jonathan S. Aronie 2.40 hrs. $ 516.59/hr.
01/23/23 Participate in Vappie investigation call with OCDM, NOPD, and IPM (1.4); draft
potential questions for Vappie interview (0.3).
Nikole R. Snyder 1.70 hrs. $ 425.43/hr.
01/24/23 Finalize list of interview questions for Vappie’s second interview and email same to
Mr. Aronie and Ms. Perry for review.
Scott Huntsberry .30 hrs. $ 215.00/hr.




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01/24/23 Review updates to questions for follow-up interview with Mr. Vappie (0.4); confer
with Messrs. Aronie and Huntsberry regarding questions for follow-up interview with Mr.
Vappie (0.2).
Anne B. Perry .60 hrs. $ 516.58/hr.
01/24/23 Meet with Mr. Douglass regarding annual report (0.3); review proposed questions for
Vappie investigation (0.4).
Jonathan S. Aronie .70 hrs. $ 516.59/hr.
01/25/23 Email correspondence regarding questions for follow-up interview with Mr. Vappie.
Anne B. Perry .10 hrs. $ 516.60/hr.
01/31/23 Attend Vappie Investigation Status/Coordination meeting with IPM & PIB
representatives, Mr. Aronie, and Ms. Perry.
Scott Huntsberry .50 hrs. $ 215.00/hr.
01/31/23 Prepare for and participate in meeting with Judge Morgan and parties regarding
Recruitment (1.0); prepare for and participate in weekly Vappie Investigation check in
meeting (0.7); attend to National Testing issue (0.3); prepare for and meet with DOJ
regarding ongoing compliance matters (0.4).
Jonathan S. Aronie 2.40 hrs. $ 516.59/hr.


FOR PROFESSIONAL SERVICES THROUGH FEBRUARY 28, 2023
02/01/23 Review first interview of Mr. Vappie (2.9); confer with Mr. Aronie regarding same
(0.1).
Anne B. Perry 3.00 hrs. $ 516.59/hr.
02/02/23 Attend Vappie Investigation update meeting with Lt. Jones.
Scott Huntsberry .30 hrs. $ 215.00/hr.
02/03/23 Prepare for and meet with NOPD officer regarding current state of NOPD compliance
(0.4); correspond with Ms. Turner regarding 88-page consultant report (0.1);
correspond with Judge Morgan and Mr. Douglass regarding same (0.2); correspond
with Mr. Sanchez regarding postponement of Vappie interview (0.2); meet with Judge
Morgan regarding ongoing compliance matters (0.3).
Jonathan S. Aronie 1.20 hrs. $ 516.59/hr.
02/06/23 Attend Vappie Investigation Status Meeting with Mr. Aronie and Ms. Perry.
Scott Huntsberry 1.00 hrs. $ 215.00/hr.
02/06/23 Participate in Vappie status meeting; review articles regarding same.
Anne B. Perry 1.60 hrs. $ 516.59/hr.
02/06/23 Review and revise documents relating to NOPD compliance (0.8); prepare for and
participate in weekly check-in regarding Vappie investigation (0.7); meet with IPM
regarding same (0.4).
Jonathan S. Aronie 1.90 hrs. $ 516.59/hr.


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02/06/23 Update OCDM 2023 schedule (0.7); continue drafting Supervision Checklist (0.5);
participate in Vappie investigation update call (0.4); review Consent Decree dashboard
to get updates on current compliance status (0.5).
Nikole R. Snyder 2.10 hrs. $ 425.43/hr.
02/08/23 Prepare for and participate in meeting with DOJ and NOPD regarding current state of
compliance tracker (1.7); prepare for and participate in meeting with Judge Morgan
regarding PIB (0.5); meet with IPM regarding PIB (0.3); meet with Chief Sanchez
regarding City Attorney attending Vappie interview (0.2).
Jonathan S. Aronie 2.70 hrs. $ 516.59/hr.
02/14/23 Attend Vappie Investigation meeting with Ms. Perry, PIB, and OIPM personnel.
Scott Huntsberry 1.00 hrs. $ 215.00/hr.
02/15/23 Correspond with Dean Landrieu regarding public meeting (0.1); draft letter to PIB
regarding Vappie investigation immediate action items (1.5); review NOPD response to
draft annual report; review nepotism policy (0.5); meet with Mr. Huntsberry regarding
forthcoming PIB review based on recent renewed allegations regarding PIB
deficiencies and misconduct (0.5).
Jonathan S. Aronie 2.60 hrs. $ 516.59/hr.
02/17/23 Prepare for and meet with PSAB regarding new policies (0.8); finalize PIB Vappie
recommendations and forward to NOPD (1.0); prepare for public meeting (0.4); prepare
for virtual court hearing (0.3); prepare for and meet with Judge Morgan regarding PIB
recommendations (0.7).
Jonathan S. Aronie 3.20 hrs. $ 516.59/hr.
02/23/23 Prepare for and participate in check-in call with PIB regarding Vappie interview (0.6);
finalize Annual Report (1.8); confirm incorporation of all relevant and accurate
comments from NOPD (0.5); meet with Judge Morgan regarding various compliance
matters (0.5); correspond with Judge Morgan regarding Request for Admission
responses (0.3); correspond with Judge Morgan regarding police chief search process
(0.1); telephone conference with DA’s office regarding NOPD probably cause for gun
arrests (0.4); review media coverage regarding same (0.3); review correspondence from
City Attorney regarding PIB conflict (0.3).
Jonathan S. Aronie 4.80 hrs. $ 516.59/hr.


FOR PROFESSIONAL SERVICES THROUGH MARCH 31, 2023
03/06/23 Prepare for and participate in weekly call with PIB regarding Vappie investigation
(0.5); correspond with Chief Bowman regarding overlapping CD paragraphs (0.2);
review correspondence from Monitoring Team regarding ongoing compliance projects
(0.4); Meet with Mr. Douglass regarding ongoing NOPD monitoring matters, including
Consent Decree status tracker (0.4); review media coverage regarding NOPD IT system
(0.3); correspond with DOJ regarding overlapping CD requirements (0.3); draft email
to Chief Gernon regarding same (0.4); meet with Mr. Douglass and Judge Morgan
regarding Mr. Pichardo (0.3); prepare correspondence to Chief Woodfork regarding

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same (0.4); review and revise same (0.3); correspond with DOJ regarding PBL time
requirements (0.2); correspond with Dean Landrieu regarding public proceeding (0.2).
Jonathan S. Aronie 3.90 hrs. $ 516.59/hr.
03/07/23 Prepare for and conduct Public Meeting (2.0); prepare outline regarding same (1.0);
meet with Mr. Douglass regarding same (0.2); meet with Judge Morgan regarding same
(0.2); correspond with City official regarding Vappie transfer issue (0.2); prepare for
and meet with CM Moreno and Judge Morgan regarding NOPD compliance and related
Consent Decree matters (0.8); participate in zoom rehearsal for public meeting (0.5);
prepare for and meet with Chief Murphy and DOJ regarding NOPD PBL request (0.5);
prepare for and meet with Judge Morgan regarding NOPD personnel matters, national
chief search, supervision, and other Consent Decree matters (0.7); review questions
from community members in advance of public meeting (0.2); draft letter to City
Attorney regarding Mr. Pichardo documents (0.4); telephone conference with AUSA
Carter regarding US Attorney's Office quarterly meetings and request regarding NOPD
consultants (0.3); review IACP contract regarding national chief search (0.3); finalize
email regarding overlapping Consent Decree obligations and correspond with Chief
Gernon regarding same (0.3); correspond with Chief Gernon regarding GOA report
(0.1); prepare for and meet with Monitoring Team regarding ongoing compliance
projects (0.8).
Jonathan S. Aronie 8.50 hrs. $ 516.59/hr.
03/13/23 Attend Vappie Investigation update meeting.
Scott Huntsberry .80 hrs. $ 215.00/hr.
03/13/23 Prepare for and participate in weekly Vappie tag up call (0.4); meet with IPM regarding
meeting with citizen in possession of PIB recordings (0.4); attend to Academy
compliance matters (0.3); correspond with VIP regarding Vappie investigation (0.2).
Jonathan S. Aronie 1.30 hrs. $ 516.59/hr.
03/14/23 Review notice regarding leak of interviews from Vappie investigation.
Anne B. Perry .20 hrs. $ 516.60/hr.
03/14/23 Correspond with PIB chief regarding NOPD failure to attend weekly roundup call
(0.2); meet with member of Ethics Board regarding various compliance matters (0.4);
correspond with PIB chief regarding Vappie recordings disclosure (0.2); correspond
with Judge Morgan regarding same (0.2); correspond with PIB Chief regarding
interview with Mayor (0.2).
Jonathan S. Aronie 1.20 hrs. $ 516.59/hr.
03/15/23 Prepare for and participate in NOPD Tracker meeting (1.0); prepare for and participate
in telephone conference with City Attorney and IPM regarding inadvertent release of
Vappie investigation data (0.5); prepare for and meet with Dean Landrieu regarding
USDC proceeding at Loyola (0.4); correspond with Mr. Allen regarding Vappie
investigation (0.2); correspond with USAO and DOJ regarding Vappie release (0.3).
Jonathan S. Aronie 2.40 hrs. $ 516.59/hr.
03/16/23 Review reports of allegedly leaked Vappie investigation and follow-up regarding same.
David L. Douglass 1.30 hrs. $ 516.59/hr.

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03/17/23 Review media report regarding leaked Vappie Investigation and follow-up with Judge
Morgan regarding media report that the Monitor did not return a request for comment.
David L. Douglass .80 hrs. $ 516.59/hr.
03/20/23 Confer with Ms. Perry regarding status of Vappie investigation.
David L. Douglass .30 hrs. $ 516.60/hr.
03/20/23 Confer with Judge Morgan regarding Vappie investigation.
David L. Douglass .20 hrs. $ 516.60/hr.
03/20/23 Confer regarding weekly updates; review fallout from inadvertent release of
investigation interviews; confer with Mr. Douglass regarding Vappie investigation and
follow up needed for same.
Anne B. Perry .80 hrs. $ 516.59/hr.
03/27/23 Prepare for and attend Vappie video call with Chief Sanchez et al. (0.7); meet with IPM
regarding same (0.2); meet with Ms. Perry regarding same (0.2); meet with Mr.
Douglass regarding same (0.2); meet with Mr. Douglass regarding Loyola Proceeding
(0.2); review Consent Decree and correspond with Chief Sanchez regarding NOPD
delay in providing documents required by the Consent Decree (0.6); meet with Mr.
Douglass regarding same (0.1); meet with Mr. Douglass regarding meeting with Chief
Woodfork (0.1).
Jonathan S. Aronie $ 516.59/hr.
03/30/23 Review document regarding new approach to compliance tracker (0.4); correspond
with Mr. Douglass regarding same (0.2); continue working on analysis of PIB investigation
of Officer Vappie (1.5); correspond with Chief Woodfork regarding interview
statement that she was unaware of NOPD’s compliance efforts from April to August of
2022 (0.3).
Jonathan S. Aronie 2.40 hrs. $ 516.59/hr.




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